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                                                                      Receivable Fund, LP
                                                            10

                                                            11                                 UNITED STATES BANKRUPTCY COURT
              1635 VILLAGE CENTER CIRCLE, SUITE 200




                                                            12                                             DISTRICT OF NEVADA
               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            13
                      LAS VEGAS, NEVADA 89134




                                                                 In re:
AKERMAN LLP




                                                            14                                                          Case No.: 21-14486-abl
                                                                 INFINITY CAPITAL MANAGEMENT, INC.                      Chapter 7
                                                            15
                                                                                     Debtor.                            Adversary Case No. 21-01167-abl
                                                            16

                                                            17                                                            TECUMSEH–INFINITY MEDICAL
                                                                 HASELECT-MEDICAL RECEIVABLES                           RECEIVABLE FUND, LP MOTION FOR
                                                            18   LITIGATION FINANCE FUND                                PARTIAL SUMMARY JUDGMENT AS
                                                                 INTERNATIONAL SP,                                           TO DIRECT PURCHASE
                                                            19
                                                                                                                                 RECEIVABLES
                                                                                     Plaintiff,
                                                            20
                                                                 v.
                                                            21

                                                            22   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            23
                                                                                     Defendant.
                                                            24

                                                            25   TECUMSEH-INFINITY MEDICAL
                                                                 RECEIVABLES FUND, LP,
                                                            26
                                                                                     Counter-Claimant,
                                                            27

                                                            28   v.

                                                                 65410923;9
                                                                        Case 21-01167-abl          Doc 90       Entered 08/26/22 18:56:21              Page 2 of 19




                                                                 HASELECT-MEDICAL RECEIVABLES
                                                             1
                                                                 LITIGATION FINANCE FUND
                                                             2   INTERNATIONAL SP,

                                                             3                           Counter-Defendant.

                                                             4
                                                                 HASELECT-MEDICAL RECEIVABLES
                                                             5   LITIGATION FINANCE FUND
                                                                 INTERNATIONAL SP,
                                                             6

                                                             7                           Counter-Claimant

                                                             8   v.

                                                                 TECUMSEH-INFINITY MEDICAL                                       Date: Hearing Requested
                                                             9
                                                                 RECEIVABLES FUND, LP,
                                                            10                                                                   Time: To be set
                                                                                         Counter-Defendant.
                                                            11
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                                                            12
                                                                      MOTION FOR SUMMARY JUDGMENT AS TO DIRECT PURCHASE RECEIVABLES
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                                                            13
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                                                                              Tecumseh–Infinity Medical Receivable Fund, LP (“Tecumseh”) by and through counsel,
                                                            14   respectfully submits this Motion for Partial Summary Judgment as to Direct Purchase Receivables (the
                                                            15   “Motion”) finding: (i) Tecumseh to be the equitable owner of the Direct Purchase Receivables (defined
                                                            16   herein); (ii) the Direct Purchase Receivables are not and were never property of the bankruptcy estate
                                                            17   of Infinity Capital Management, Inc. (“Infinity” or “Debtor”); (iii) the perfected security interest of
                                                            18   HASelect's-Medical Receivables Litigation Finance Fund International SP (“HASelect”) in the
                                                            19   Debtor’s collateral does not extend to the Direct Purchase Receivables; and (iv) the strong arm rights
                                                            20   and powers afforded to the Trustee under 11 U.S.C. § 544 and sold to HASelect should not, and indeed
                                                            21   cannot, be utilized to make the Direct Purchase Receivables property of the Debtor’s bankruptcy
                                                            22   estate.
                                                            23                This Motion is made pursuant to Fed. R. Civ. P. 56 and Federal Rules of Bankruptcy Procedure
                                                            24   7056 and Rule 7056 of the Local Rules of Bankruptcy Practice and Procedure of the United States
                                                            25   Bankruptcy Court for the District of Nevada,1 and is made and based upon the following memorandum
                                                            26

                                                            27

                                                            28   1
                                                                  Unless otherwise stated, all “Chapter” and “Section” references are to Title 11 of the U.S. Code (the “Bankruptcy Code”),
                                                                 all “Bankruptcy Rule” references are to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and all
                                                                                                                             2
                                                                 65410923;9
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                                                             1   of points and authorities as well as statement of undisputed facts submitted herewith and referenced

                                                             2   herein:

                                                             3                                      I.          PRELIMINARY STATEMENT

                                                             4                It is undisputed that, of the thousands of medical receivables at issue in this case, those

                                                             5   purchased from and after October 29, 2020—or 4,190 receivables with a collective face amount of

                                                             6   approximately $19,846,621.37—were paid for with purchase monies transferred from Tecumseh’s

                                                             7   bank account directly to medical providers. It is likewise undisputed that both the Debtor and

                                                             8   Tecumseh intended Tecumseh to be the beneficial owner of these direct purchase receivables, and that

                                                             9   the parties behavior was at all times consistent with such intent. Equity therefore mandates the

                                                            10   recognition of the existence of a valid purchase money resulting trust wherein the Debtor holds these

                                                            11   direct purchase receivables for the benefit of Tecumseh, as beneficiary. It would be entirely inequitable
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                                                            12   for the Court to find that HASelect’s lien attaches to these direct purchase receivables, notwithstanding
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                                                            13   the Debtor’s position as a resulting trustee in possession of Tecumseh’s property. Neither HASelect’s
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                                                            14   loan to the Debtor nor proceeds of HASelect’s loan led to the creation of these direct purchase

                                                            15   receivables— and HASelect acknowledges this. Indeed, allowing HASelect to attach its liens to these

                                                            16   direct purchase receivables would unjustly enrich HASelect, who has to date recovered collateral

                                                            17   valued at or around 13.7 million dollars on a 16 million dollar claim.

                                                            18                                      II.         JURISDICTION AND VENUE

                                                            19                This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

                                                            20   This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper in this district

                                                            21   pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates for the relief sought herein are FRCP

                                                            22   56, Bankruptcy Rule 7056, and Local Rule 7056.

                                                            23                                           III.    STATEMENT OF FACTS

                                                            24   A.           The Debtor purchased receivables on its own account.

                                                            25                Prior to the commencement of the above-captioned bankruptcy case, the Debtor was in the

                                                            26   business of purchasing receivables from medical providers, which receivables typically arose from

                                                            27
                                                                 references to “Local Rules” are to the Local Rules of Bankruptcy Practice for the U.S. District Court for the District of
                                                            28   Nevada (the “Local Rules”).
                                                                                                                            3
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                                                             1   medical treatment provided to individuals who were injured in accidents who then asserted personal

                                                             2   injury claims arising from the accidents.2

                                                             3                These receivables were secured by liens against recovery on the personal injury claims; the

                                                             4   Debtor only recovered on its Receivables when Plaintiff’s personal injury claims were settled.3 The

                                                             5   Debtor used proceeds of its loan from HASelect to purchase Receivables on its own account and to

                                                             6   fund its operations.4 Among other things, those Receivables legally and beneficially owned by the

                                                             7   Debtor secured the HASelect loan.5

                                                             8                HASelect asserts that is owed $16,000,543.00 as of September 14, 2021 (the “Petition Date”).6

                                                             9   On October 15, 2021, the Trustee abandoned to HASelect collateral valued by the Debtor at

                                                            10   approximately 10 million dollars.7 The Court subsequently ruled that HASelect may also recover

                                                            11   receivables totaling $3,734,397.25,8 concluding that HASelect’s position as a “lien creditor” under 11
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                                                            12   U.S.C. § 544(a) was superior to any interest held by Tecumseh in those particular Receivables, and
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                                                            13   therefore, that any interest held by Tecumseh in such receivables was avoided pursuant to 11 U.S.C.
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                                                            14   § 544(a).9

                                                            15   B.           The Debtor acted as a broker and servicer for the Tecumseh Receivables.

                                                            16                The Debtor also arranged for the purchase of certain receivables on behalf of Tecumseh (the

                                                            17   “Tecumseh Receivables”). The relationship between Tecumseh and the Debtor was governed by a

                                                            18

                                                            19

                                                            20
                                                                 2
                                                                  See Testimony of Oliver Hemmer, Debtor's principal (“Hemmer Dep.”) Vol. I at 42:1-46:15, Vol. II at 175:7-179:3.
                                                            21   Both volumes of Hemmer’s testimony are attached as Exhibit A to the Tecumseh’s Statement of Undisputed Facts in
                                                                 Support of Motion for Partial Summary Judgment as to Direct Purchase Receivables (the “Statement of Undisputed
                                                            22   Facts”) submitted herewith.
                                                                 3
                                                                     Hemmer Dep. Vol. I at 44:20-47:3, Vol. II at 176:8; 180:4-183:8.
                                                            23
                                                                 4
                                                                     Hemmer Dep. Vol. I at 108:12-109:1.
                                                            24   5
                                                                     Hemmer Dep. Vol. I at 108:12-109:1, Vol. II at 168:17-169:5.
                                                            25   6
                                                                     See Main Case, Proof of Claim No. 8-2.
                                                                 7
                                                                     See Main Case, ECF Nos. 12, 64, and 97.
                                                            26
                                                                 8
                                                                   From approximately July through October 2020, Tecumseh transferred funds to the Debtor to purchase the receivables
                                                            27   on Tecumseh’s behalf. These receivables are referred to herein as the “Disputed Receivables.” The Disputed Receivables
                                                                 are not the subject of this Motion.
                                                            28   9
                                                                     See Adv. Case, ECF No. 88.
                                                                                                                              4
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                                                             1   June 2020 Sub-Advisory Agreement.10 The Sub-Advisory Agreement generally provided that the

                                                             2   Debtor would (i) assist Tecumseh with purchasing the Tecumseh Receivables “directly from the

                                                             3   Medical Service Provider” and (ii) service and collect the Tecumseh Receivables. (“The purpose of

                                                             4   the Sub-Advisory Agreement was to facilitate the sale of receivables from medical providers to

                                                             5   Tecumseh and to provide for servicing of the receivables by the Debtor.”).11 To that end, the Sub-

                                                             6   Advisory Agreement called for the Debtor to identify receivables for Tecumseh to purchase and to

                                                             7   negotiate a purchase price on Tecumseh’s behalf.12 The Debtor was also to arrange all of the

                                                             8   paperwork necessary to “evidence the sale of the Receivable to [Tecumseh] by the Medical Service

                                                             9   Provider.”13

                                                            10                In summary, the Tecumseh Receivable purchase process involved the Debtor identifying a

                                                            11   receivable, negotiating with the medical provider, and presenting the receivable to Tecumseh. FTM
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                                                            12   Investments, Inc. (“FTM”) would then verify the receivable on behalf of Tecumseh, after which
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                                                            13   Tecumseh would approve of the purchase.14 Tecumseh then paid the price agreed to by the medical
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                                                            14   provider along with the fee to the Debtor required by the Sub-Advisory Agreement.15

                                                            15                In detail, the purchase process commenced with the referral of a personal injury plaintiff to the

                                                            16   Debtor.16 Each plaintiff was then assigned a unique ClaimID number by the Debtor.17 The plaintiff

                                                            17   would then seek care from a medical provider. Acting on behalf of Tecumseh, the Debtor would

                                                            18   provide a preauthorization letter to the medical provider prior to the performance of any authorized

                                                            19

                                                            20

                                                            21

                                                            22
                                                                 10
                                                                   See Declaration of Michael Belotz (“Belotz Decl.”), ¶ 5 see also Sub-Advisory Agreement, attached as Exhibit B to the
                                                            23   Statement of Undisputed Facts. The Sub-Advisory Agreement is controlled by the law of the state of South Carolina. Id.
                                                                 11
                                                                      Sub-Advisory Agreement at Exh. A, ¶ 3(b), (e); Belotz Decl. at ¶ 7.
                                                            24
                                                                 12
                                                                      Sub-Advisory Agreement at ¶¶ 1(b), 3(a), 3(b).
                                                            25   13
                                                                      Id. at ¶ 3(d).
                                                            26   14
                                                                      Belotz Decl., ¶ 10.
                                                                 15
                                                                      Id.
                                                            27
                                                                 16
                                                                      See Referral, attached as Exhibit C to the Statement of Undisputed Facts.
                                                            28   17
                                                                      Hemmer Dep. Vol. I at 45:15-46:23.
                                                                                                                               5
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                                                             1   service by the provider to the Plaintiff.18 Subsequent to the provision of an authorized procedure,

                                                             2   Tecumseh would provide payment in a previously agreed upon amount.19

                                                             3                The Debtor then assigned each authorized procedure a unique BillID number.20 Debtor would

                                                             4   retain in its records an HCFA 1500 medical billing claim form (“Claim Form”) reflecting, among other

                                                             5   things, the face amount of each Receivable, and transmitting the Claim Form to the Plaintiff’s counsel

                                                             6   of record.21 Each Claim Form represented a distinct Receivable, associated with a unique BillID

                                                             7   number.22

                                                             8                Each receivable would receive its own unique BillID number, and the Debtor would maintain

                                                             9   in its records a corresponding Claim Form, together with evidence of Tecumseh’s contemporaneous

                                                            10   payment. 23 To facilitate the purchase of Tecumseh Receivables and collection of proceeds, Tecumseh

                                                            11   opened an account with Bank of America (the “BofA Account”). Tecumseh funded the BofA Account
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                                                            12   with money from its investors. It granted signing authority to Hemmers and Anne Pantelas (with co-
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                                                            13   signature by Belotz and another Tecumseh principal, Chad Meyer).24
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                                                            14                The receivables purchased by Tecumseh from and after October 29, 2020—4,190 receivables

                                                            15   at a face amount of approximately $19,846,621.37 (the “Direct Purchase Receivables”)—were paid

                                                            16   for with transfers of purchase money directly from Tecumseh’s BofA Account to the respective

                                                            17   medical providers.25 The Direct Purchase Receivables are the subject of this Motion.

                                                            18   C.           Tecumseh provided the purchase money for the Direct Purchase Receivables.

                                                            19                Tecumseh paid for the Direct Purchase Receivables directly from its BofA Account to the

                                                            20   medical provider.26 Further, rather than purchasing groups of receivables every two weeks or so,

                                                            21

                                                            22   18
                                                                      See Preauthorization Letter, attached as Exhibit D to the Statement of Undisputed Facts.
                                                            23   19
                                                                      Belotz Decl., ¶ 9-10.
                                                                 20
                                                                      See Hemmer Dep. Vol. I at 45:15-46:23.
                                                            24
                                                                 21
                                                                      See Claim Form, attached as Exhibit E to the Statement of Undisputed Facts.
                                                            25   22
                                                                      See Hemmer Dep. Vol. I at 45:15-46:23.
                                                            26   23
                                                                      See Claim Form, attached as Exhibit E to the Statement of Undisputed Facts.
                                                                 24
                                                                      Belotz Decl., ¶ 11.
                                                            27
                                                                 25
                                                                      Belotz Decl., ¶ 12.
                                                            28   26
                                                                      Belotz Decl., ¶ 13.
                                                                                                                               6
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                                                             1   Tecumseh purchased receivables throughout the month, and Tecumseh paid the Debtor its servicing

                                                             2   fee for its work in locating and servicing the Tecumseh Receivables monthly from the BofA Account.27

                                                             3                As required by the Sub-Advisory Agreement, the Debtor maintained a log of the Tecumseh

                                                             4   Receivables along with any collections on them.28 Debtor made these records available to Tecumseh

                                                             5   on a regular basis through an application known as “Case Manager.”29 In addition, Tecumseh

                                                             6   maintained its own records related to the Tecumseh Receivables.30 Accordingly, Tecumseh has

                                                             7   prepared a reconciliation evidencing the payment and detailed purchase history of the Direct Purchase

                                                             8   Receivables in reliance on both its and the Debtor’s records.31 The Debtor likewise created a Claim

                                                             9   Form for each Direct Purchase Receivable purchased by Tecumseh.32 The Debtor also maintained

                                                            10   several binders, a segregated compilation of documents, evidencing Tecumseh’s direct payments to

                                                            11   medical providers and all corresponding Claim Forms for nearly all of the Direct Purchase
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                                                            12   Receivables.33 Each Claim Form represented a distinct Receivable, affiliated with a unique BillID
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                                                            13   number.34
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                                                            14                The Direct Purchase Receivables include the following:

                                                            15
                                                                                    Month/Year           Number of          Face Value           Total           Infinity
                                                            16                                           Receivables                            Purchase           Fee
                                                                                                                                                 Price
                                                            17
                                                                                 October/202035          92 total          $828,614.88         $142,862.63 $28,572.52
                                                            18

                                                            19

                                                            20
                                                                 27
                                                                      Id.
                                                            21
                                                                 28
                                                                      Belotz Decl., ¶ 14.
                                                            22   29
                                                                      Id.
                                                            23   30
                                                                      Belotz Decl. ¶ 14.
                                                                 31
                                                                      See Reconciliation, attached as Exhibit F to the Statement of Undisputed Facts.
                                                            24
                                                                 32
                                                                      Belotz Decl., ¶ 19; see also Claim Form, attached as Exhibit E to the Statement of Undisputed Facts, and FN 33.
                                                            25   33
                                                                   The binders contain PII and HIPPA protected information. Contemporaneously with the filing of this Motion, Tecumseh
                                                                 will be seeking the Court's permission to submit such binders under seal of the Court.
                                                            26
                                                                 34
                                                                   Hemmer Dep. Vol. I at 45:15-46:23; see also Claim Form, attached as Exhibit E to the Statement of Undisputed Facts,
                                                            27   and FN 33.
                                                                 35
                                                                  A copy of Tecumseh’s monthly account statement for the BofA Account dated October 31, 2020 is attached as part of
                                                            28   Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                                                                                               7
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                                                                              November/202036 266 total               $501,921.54        $170,027.05 $30,142.28
                                                             1
                                                                              December/202037        441 total        $1,305,197.62 $283,162.07 $56,692.44
                                                             2
                                                                              January/202138         430 total        $1,500,807.25 $284,325.87 $56,865.78
                                                             3
                                                                              February/202139        323 total        $1,248,675.56 $321,377.94 $64,588.45
                                                             4
                                                                              March/202140           412 total        $2,081,787.17 $285,862.33 $46,100.85
                                                             5
                                                                              April/202141           425 total        $1,278,990.10 $308,721.70 $33,371.64
                                                             6
                                                                              May/202142             582 total        $2,647,439.26 $349,515.96 $69,903.19
                                                             7

                                                             8                June/202143            533 total        $4,233,654.73 $539,763.82 $98,999.89

                                                             9                July/202144            245 total        $2,154,768.92 $197,192.40 $29,861.69

                                                            10                August/202145          394 total        $1,751,688.53 $199,942.76 $31,348.54

                                                            11                September/202146 47 total               $313,075.81        $102,827.82            -
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                                                            12
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                                                            13
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                                                            14

                                                            15   36
                                                                   A copy of Tecumseh’s monthly account statement for the BofA Account dated November 30, 2020 is attached as part
                                                                 of Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                            16
                                                                 37
                                                                   A copy of Tecumseh’s monthly account statement for the BofA Account dated December 31, 2020 is attached as part
                                                            17   of Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                                 38
                                                                  A copy of Tecumseh’s monthly account statement for the BofA Account dated January 31, 2020 is attached as part of
                                                            18   Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                            19   39
                                                                  A copy of Tecumseh’s monthly account statement for the BofA Account dated February 28, 2020 is attached as part of
                                                                 Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                            20   40
                                                                  A copy of Tecumseh’s monthly account statement for the BofA Account dated March 31, 2020 is attached as part of
                                                                 Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                            21
                                                                 41
                                                                   A copy of Tecumseh’s monthly account statement for the BofA Account dated April 30, 2020 is attached as part of
                                                            22   Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                                 42
                                                                   A copy of Tecumseh’s monthly account statement for the BofA Account dated May 31, 2020 is attached as part of
                                                            23   Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                            24   43
                                                                   A copy of Tecumseh’s monthly account statement for the BofA Account dated June 30, 2020 is attached as part of
                                                                 Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                            25   44
                                                                   A copy of Tecumseh’s monthly account statement for the BofA Account dated July 31, 2020 is attached as part of
                                                                 Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                            26
                                                                 45
                                                                  A copy of Tecumseh’s monthly account statement for the BofA Account dated August 31, 2020 is attached as part of
                                                            27   Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                                 46
                                                                  A copy of Tecumseh’s monthly account statement for the BofA Account dated September 30, 2020 is attached as part
                                                            28   Composite Exhibit G to the to the Statement of Undisputed Facts.
                                                                                                                         8
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                                                                 D.           The Parties intended Tecumseh to possess beneficial ownership interest in the Direct
                                                             1                Purchase Receivables.
                                                             2
                                                                              Both Tecumseh and the Debtor agreed that the Debtor was to act solely as an intermediary and
                                                             3
                                                                 servicer for Tecumseh in relation to the Tecumseh Receivables.47 As such, the Debtor was not to
                                                             4
                                                                 acquire a beneficial ownership interest in receivables purchased on Tecumseh’s behalf.48 The Sub-
                                                             5
                                                                 Advisory Agreement evidences this intent, providing that the Debtor would (i) assist Tecumseh with
                                                             6
                                                                 purchasing medical receivables “directly from the Medical Service Provider” and (ii) service and
                                                             7
                                                                 collect any receivables that Tecumseh might acquire.49 Hemmer, one of the Debtor’s principals,
                                                             8
                                                                 likewise testified that the Debtor did not possess a beneficial interest in any of the receivables acquired
                                                             9
                                                                 by Tecumseh.50 The Debtor’s internal records likewise denote which receivables belong to Tecumseh
                                                            10
                                                                 and which receivables belonged to the Debtor and secured HASelect’s loan.51
                                                            11
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                                                                              The parties behavior is consistent with such intent. Tecumseh has, at all times relevant hereto,
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                                                            12
                                                                 held itself out as the beneficial owner of the Tecumseh Receivables. Tecumseh relayed to its fund
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                                                            13
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                                                                 administrator the “Bill ID, cost of the receivable, the overhead charge, the total cost, date paid and the
                                                            14
                                                                 type” of receivables “bought since the [time the] last report was generated.”52 Tecumseh likewise made
                                                            15
                                                                 this information available to its investors on a regular basis, posting publicly available fund reports
                                                            16
                                                                 detailing, among other things, the “date of purchase” together with the “purchase cost” of each
                                                            17
                                                                 Tecumseh Receivable denoted by its “BillID.”53 Tecumseh reported its ownership interest and any
                                                            18
                                                                 resulting capital gains and losses to the Internal Revenue Service.54
                                                            19
                                                                              The Debtor has likewise manifested, at all times, its intent that it should possess no more than
                                                            20
                                                                 bare legal title of the Tecumseh Receivables. Not surprisingly, the Debtor’s bankruptcy schedules do
                                                            21

                                                            22

                                                            23   47
                                                                      Belotz Decl. at ¶ 7 see also Hemmer Dep. Vol. II at 186:12-17.
                                                                 48
                                                                      Id.; see also Hemmer Dep. Vol. II at 186:3-8.
                                                            24
                                                                 49
                                                                      Sub-Advisory Agreement, Exh. A, ¶ 3(b), (e); Belotz Decl. at ¶ 7.
                                                            25   50
                                                                      Hemmer Dep. Vol. II at 173:18-174:4, 174:15-175:3.
                                                            26   51
                                                                      Hemmer Dep. Vol. II at 170:24-171:6.
                                                                 52
                                                                      See Email Correspondence attached as Exhibit H to the Statement of Undisputed Facts.
                                                            27
                                                                 53
                                                                      Belotz Decl. at ¶ 22; see also Reports (tecumsehalts.com), last visited 8.26.22.
                                                            28   54
                                                                      Belotz Decl. at ¶ 22.
                                                                                                                                 9
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                                                             1   not claim an ownership interest in Direct Purchase Receivables.55 The Debtor also maintained several

                                                             2   binders, a segregated compilation of documents, evidencing Tecumseh’s direct payments to medical

                                                             3   providers and all corresponding Claim Forms for nearly all of the Direct Purchase Receivables

                                                             4   purchased by Tecumseh.56 Each Claim Form represented a distinct Receivable, affiliated with a unique

                                                             5   BillID number. Its records distinguish between its receivables and Tecumseh’s receivables.

                                                             6   Importantly, all dollars collected on the Tecumseh Receivables were paid directly to Tecumseh and

                                                             7   not to the Debtor.57

                                                             8                Further, because the Debtor was not reselling receivables to Tecumseh, the Debtor had no

                                                             9   opportunity to profit on the receivables Tecumseh purchased. Thus, Tecumseh agreed to pay the

                                                            10   Debtor a fee as compensation for identifying receivables, negotiating a purchase price, processing the

                                                            11   sale, and servicing the receivables.58 Under the Sub-Advisory Agreement, the Debtor received a 20%
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                                                            12   acquisition fee.59 The Debtor earned 10% of the acquisition fee immediately, and 10% according to a
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                                                            13   contingency schedule.60 The contingency schedule turned on the average investor annual rate of return;
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                                                            14   the Debtor earned up to 10% if the annual rate of return exceeded 30%.61 In other words, the Sub-

                                                            15   Advisory Agreement incentivized the identification and servicing of high yielding receivables by the

                                                            16   Debtor for Tecumseh’s benefit.62

                                                            17                                                    IV.      ARGUMENT
                                                            18   A.           Summary Judgment is Appropriate and Warranted.
                                                            19                The purpose of summary judgment is to avoid unnecessary trials when there is no dispute as
                                                            20   to the material facts before the court. Northwest Motorcycle Ass'n v. U.S. Dep't of Agric., 18 F.3d
                                                            21   1468, 1471 (9th Cir. 1994). Summary judgment is proper if the evidence shows that there is no genuine
                                                            22

                                                            23   55
                                                                      Hemmer Dep. Vol. II at 173:18-174:4, 174:15-175:3; see also Debtor’s Schedules [Main Case, ECF No. 47].
                                                                 56
                                                                      See FN 33 above.
                                                            24
                                                                 57
                                                                      Belotz Decl. at ¶ 23; see also Hemmer Dep. Vol. II at 186:18-23.
                                                            25   58
                                                                      Belotz Decl. at ¶ 24.
                                                            26   59
                                                                      Sub-Advisory Agreement, Addendum A, ¶ (a).
                                                                 60
                                                                      Sub-Advisory Agreement, Addendum A, ¶ (a).
                                                            27
                                                                 61
                                                                      Sub-Advisory Agreement, Addendum A, ¶ (a).
                                                            28   62
                                                                      Belotz Decl. ¶ 24.
                                                                                                                              10
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                                                             1   issue as to any material fact and the moving party is entitled to judgment as a matter of law. Fed. R.

                                                             2   Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

                                                             3                In evaluating the appropriateness of summary judgment, three steps are necessary: (1)

                                                             4   determining whether a fact is material; (2) determining whether there is a genuine issue for the trier of

                                                             5   fact, as determined by the documents submitted to the court; and (3) considering that evidence in light

                                                             6   of the appropriate standard of proof. Bagdadi v. Nazari, 84 F.3d 1194, 1197 (9th Cir. 1996). As to

                                                             7   materiality, a “material” fact is one that is relevant to an element of a claim or defense and whose

                                                             8   existence might affect the outcome of the suit. T.W. Elec. Serv., Inc. v. P. Elec. Contractors Ass'n, 809

                                                             9   F.2d 626, 630 (9th Cir. 1987). The materiality of a fact is thus determined by the substantive law

                                                            10   governing the claim or defense. Id.

                                                            11   B.           The Debtor Never Had an Ownership Interest in the Direct Purchase Receivables
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                                                            12                It is undisputed that the Debtor never owned an interest in any of the Direct Purchase
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                                                            13
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                                                                 Receivables. The Direct Purchase Receivables belong to Tecumseh and the Debtor has never claimed
                                                            14   an interest in them. As Mr. Hemmer testified, the purpose of the Sub-Advisory Agreement was to
                                                            15   facilitate a sale between the medical service providers and Tecumseh.63 The funds to purchase the
                                                            16   receivables came from Tecumseh, not the Debtor.64 The Debtor was not to acquire an interest in the
                                                            17   receivable or to be part of the chain of title.65 The Debtor was not buying and reselling.66 In fact, the
                                                            18   Debtor acquired no interest in the receivables; it merely serviced them.67 All dollars collected on the
                                                            19   receivables were paid directly to Tecumseh as the money belonged to Tecumseh and not to the
                                                            20   Debtor.68
                                                            21                Mr. Hemmer further testified that the funds to purchase the receivables from the medical
                                                            22

                                                            23

                                                            24
                                                                 63
                                                                      Hemmer Dep. Vol. II at 185:15-20.
                                                            25   64
                                                                      Id. at 185:21-186:2.
                                                            26   65
                                                                      Id. at 186:3-8.
                                                                 66
                                                                      Id. at 186:9-11.
                                                            27
                                                                 67
                                                                      Id. at 186:12-17.
                                                            28   68
                                                                      Id. at 186:18-23.
                                                                                                                     11
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                                                             1   providers came from a Bank of America account owned by Tecumseh.69 All of the funds in that

                                                             2   account belonged to Tecumseh and the Debtor had no interest in the funds.70 None of the dollars that

                                                             3   Tecumseh used to purchase the receivables flowed through any of the Debtor’s accounts.71 Instead,

                                                             4   there was a direct payment from Tecumseh to the medical service provider.72 Mr. Hemmer expressly

                                                             5   testified that the Debtor does not own an interest in these receivables.73

                                                             6   C.           Alternatively, a Purchase Money Resulting Trust Arose in Tecumseh’s Favor with
                                                                              Respect to the Direct Purchase Receivables at the Time of their Purchase
                                                             7
                                                                              South Carolina law follows the Restatement (Third) of Trusts § 9 (2003), which provides that
                                                             8
                                                                 where “a transfer of property is made to one person and the purchase price is paid by another, a
                                                             9
                                                                 resulting trust arises in favor of the person by whom the purchase price is paid.” Restatement (Third)
                                                            10
                                                                 of Trusts § 9 (2003); see also Hayne Fed. Credit Union v. Bailey, 489 S.E. 2d 472, 475 (S.C. 1997)
                                                            11
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                                                                 (“Equity devised the theory of resulting trust to effectuate the intent of the parties in certain situations
                                                            12
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                                                                 where one party pays for property, in whole or in part, that for a different reason is titled in the name
                                                            13
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                                                                 of another.”)
                                                            14
                                                                              According to the South Carolina Supreme Court, it is presumed that the party who pays the
                                                            15
                                                                 purchase money intended a benefit to himself, and accordingly a resulting trust is raised in his behalf.
                                                            16
                                                                 Id. (citing Caulk v. Caulk, S.E. 2d 600 (S.C. 1947)). That presumption may be rebutted with contrary
                                                            17
                                                                 intention shown by parol evidence. Id. (citing Larisey v. Larisey, 77 S.E. 129, 130 (S.C. 1913)). It
                                                            18
                                                                 follows logically that “if the presumption may be wholly rebutted by parol evidence, it may [also] be
                                                            19
                                                                 strengthened by such evidence…” Larisey, 77 S.E. 129 at 130.
                                                            20
                                                                              In other words, “for issues involving a purported resulting trust, the actual intention of the
                                                            21
                                                                 parties at the time of the purchase is the critical determination.” In re Macdonald, 622 B.R. 837, 856
                                                            22

                                                            23

                                                            24

                                                            25   69
                                                                      Id. at 188:6-11; 188:14-189:6.
                                                            26   70
                                                                      Id. at 189:8-15.
                                                                 71
                                                                      Id. at 189:16-19.
                                                            27
                                                                 72
                                                                      Id. at 189:20-22.
                                                            28   73
                                                                      Id. at 173:18-174:4, 174:15-175:3.
                                                                                                                         12
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                                                             1   (Bankr. D.S.C. 2020), reconsideration denied (Oct. 15, 2020), aff'd sub nom. Furlow v. Macdonald,

                                                             2   2:20-CV-3820-DCN, 2021 WL 2982864 (D.S.C. July 15, 2021).

                                                             3                South Carolina law is clear that a purchase money resulting trust:

                                                             4                        must arise, if at all, at the time the purchase is made. The funds must
                                                                                      then be advanced and invested. It cannot be made by after advances, or
                                                             5                        funds subsequently furnished. It does not arise upon subsequent
                                                                                      payments, under a contract by another to purchase.
                                                             6

                                                             7   In re Prince, CA 11-01041-DD, 2011 WL 2747797, at *3 (Bankr. D.S.C. July 12, 2011) (internal

                                                             8   citations omitted).

                                                             9                The matter of In re Rivers-Jones, CA 07-02607-JW, 2007 WL 7714892, at *3 (Bankr. D.S.C.

                                                            10   Sept. 4, 2007) is illustrative. In Rivers–Jones, the debtor's grandmother financed the purchase of a

                                                            11   mobile home for the debtor and her husband because they “were unable to obtain financing to purchase
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                                                            12   the Mobile Home themselves.” Rivers–Jones, at *1. After the debtor filed a chapter 13 bankruptcy
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                                                            13   case, Green Tree, a lien holder on the mobile home, objected to confirmation of the debtor's chapter
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                                                            14   13 plan because the debtor lacked privity with Green Tree and because the debtor's plan attempted to

                                                            15   value Green Tree's lien. Id. at *3. The court found that a resulting trust arose in the debtor's favor

                                                            16   because the debtor had made all payments on the mobile home, because the parties intended the debtor

                                                            17   to have an ownership interest in the mobile home, and because the grandmother did not claim any

                                                            18   ownership interest in the mobile home. Id. at *6.

                                                            19                1.      Tecumseh provided the purchase monies for the Direct Purchase Receivables.
                                                            20                It is undisputed that the purchase monies for the Direct Purchase Receivables were transmitted
                                                            21   from Tecumseh’s BofA Account directly to respective medical providers.74 Tecumseh’s bank records
                                                            22   evidence this contemporaneous payment of purchase monies for the Direct Purchase Receivables.75
                                                            23                As required by the Sub-Advisory Agreement, the Debtor maintained a log of the Direct
                                                            24   Purchase Receivables along with any collections on them.76 Debtor made these records available to
                                                            25

                                                            26
                                                                 74
                                                                      Belotz Decl. at ¶ 12 see also Hemmer Dep. Vol. II at 185:21-186:2.
                                                            27
                                                                 75
                                                                      See Composite Exhibit G to the Statement of Undisputed Facts.
                                                            28   76
                                                                      Belotz Decl. at ¶ 14.
                                                                                                                             13
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                                                             1   Tecumseh on a regular basis.77 In addition, Tecumseh maintained its own records related to the Direct

                                                             2   Purchase Receivables.78 Tecumseh’s reconciliation, prepared by Tecumseh in reliance on both its and

                                                             3   the Debtor’s records, provides the payment and detailed purchase history of the Direct Purchase

                                                             4   Receivables.79 The Debtor also maintained several binders, a segregated compilation of documents,

                                                             5   evidencing Tecumseh’s direct payments to medical providers and all corresponding Claim Forms for

                                                             6   nearly all of the Direct Purchase Receivables.80 Each Claim Form represented a distinct Receivable,

                                                             7   affiliated with a unique BillID number.81

                                                             8                2.     The Parties intended Tecumseh to have ownership interest in the Direct Purchase
                                                                                     Receivables.
                                                             9
                                                                              Both Tecumseh and the Debtor agreed that the Debtor was to act solely as an intermediary and
                                                            10
                                                                 servicer for Tecumseh in relation to the Tecumseh Receivables.82 As such, the Debtor was not to
                                                            11
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                                                                 acquire a beneficial ownership interest in receivables purchased on Tecumseh’s behalf.83 The Sub-
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                                                            12
                                                                 Advisory Agreement evidences this intent, providing that the Debtor would (i) assist Tecumseh with
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                                                            13
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                                                                 purchasing medical receivables “directly from the Medical Service Provider” and (ii) service and
                                                            14
                                                                 collect any receivables that Tecumseh might acquire.84 Hemmer, one of the Debtor’s principals,
                                                            15
                                                                 likewise testified that the Debtor did not own an interest in any of the receivables acquired by
                                                            16
                                                                 Tecumseh.85 And the Debtor’s internal records likewise denote which receivables belong to Tecumseh
                                                            17
                                                                 and which receivables belonged to the Debtor and secured HASelect’s loan.86
                                                            18
                                                                              The parties behavior is consistent with such intent. Tecumseh has, at all times relevant hereto,
                                                            19

                                                            20

                                                            21   77
                                                                      Id.
                                                                 78
                                                                      Id.
                                                            22
                                                                 79
                                                                      Id.
                                                            23   80
                                                                      See FN 33 above.
                                                            24   81
                                                                   See Hemmer Dep. Vol. I at 45:15-46:23; see also Claim Form, attached as Exhibit E to the Statement of Undisputed
                                                                 Facts, and FN 33.
                                                            25   82
                                                                      Belotz Decl. at ¶ 7; see also Hemmer Dep. Vol. II at 186:12-17.
                                                            26   83
                                                                      Belotz Decl. at ¶ 7.; see also Hemmer Dep. Vol. II at 186:3-8.
                                                                 84
                                                                      The Sub-Advisory Agreement, Exh. A, ¶ 3(b), (e); Belotz Decl. at ¶ 7.
                                                            27
                                                                 85
                                                                      Hemmer Dep. Vol. II at 173:18-174:4, 174:15-175:3.
                                                            28   86
                                                                      Hemmer Dep. Vol. II at 170:24-171:6.
                                                                                                                               14
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                                                             1   held itself out as the beneficial owner of the Tecumseh Receivables. Tecumseh relayed to its fund

                                                             2   administrator the “Bill ID, cost of the receivable, the overhead charge, the total cost, date paid and the

                                                             3   type” of receivables “bought since the [time the] last report was generated.”87 Tecumseh likewise made

                                                             4   this information available to its investors on a regular basis, posting publicly available fund reports

                                                             5   detailing, among other things, the “date of purchase” together with the “purchase cost” of each

                                                             6   Tecumseh Receivable denoted by its “BillID.”88 Tecumseh accordingly reported its ownership interest

                                                             7   and any resulting capital gains and losses to the Internal Revenue Service.

                                                             8                3.      The Debtor does not claim any ownership interest in the Direct Purchase
                                                                                      Receivables.
                                                             9
                                                                              The Debtor has likewise manifested, at all time, its intent that it should possess no more than
                                                            10
                                                                 bare legal title of the Tecumseh Receivables. Not surprisingly, the Debtor’s bankruptcy schedules do
                                                            11
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                                                                 not claim an ownership interest in Direct Purchase Receivables.89 The Debtor maintained a log of the
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                                                            12
                                                                 Tecumseh Receivables along with any collections on them, and made these records available to
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                                                            13
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                                                                 Tecumseh on a regular basis. The Debtor also maintained a compilation of documents evidencing
                                                            14
                                                                 Tecumseh’s direct payments to medical providers and all corresponding Claim Forms for each Direct
                                                            15
                                                                 Purchase Receivable purchased by Tecumseh.90 Further, because the Debtor was not reselling
                                                            16
                                                                 receivables to Tecumseh, the Debtor had no opportunity to profit on the receivables Tecumseh
                                                            17
                                                                 purchased. Thus, Tecumseh agreed to pay the Debtor a fee as compensation for identifying
                                                            18
                                                                 receivables, negotiating a purchase price, processing the sale, and servicing the receivables.91 It also
                                                            19
                                                                 paid the proceeds on the Direct Purchase Receivables directly into Tecumseh’s BofA account.92
                                                            20
                                                                 C.           HASelect’s lien does not extend to the Direct Purchase Receivables
                                                            21
                                                                              It is axiomatic that HASelect’s lien only attaches to property owned by the Debtor. Under the
                                                            22
                                                                 UCC, a lien attaches only when “the debtor has rights in the collateral or the power to transfer rights
                                                            23

                                                            24
                                                                 87
                                                                      Email Correspondence attached as Exhibit H to the Statement of Undisputed Fact.
                                                            25   88
                                                                      Belotz Decl. at ¶ 22; see also Reports (tecumsehalts.com), last visited 8.26.22.
                                                            26   89
                                                                      Hemmer Dep. Vol. II at 173:18-174:4, 174:15-175:3; see also Debtor’s Schedules [Main Case, ECF No. 47].
                                                                 90
                                                                      See FN 33 above.
                                                            27
                                                                 91
                                                                      Belotz Decl. at ¶ 24.
                                                            28   92
                                                                      Belotz Decl. at ¶ 23.
                                                                                                                                15
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                                                             1   in the collateral to a secured party.” N.R.S. § 104.9203(2)(b). The Debtor never had rights in the Direct

                                                             2   Purchase Receivables. The Sub-Advisory Agreement precluded that – as repeatedly acknowledged by

                                                             3   Mr. Hemmer in his testimony. .

                                                             4                Even if the Debtor had title, it held as a resulting trustee precluding HASelect’s lien from

                                                             5   attaching. Although “a beneficial interest in a trust may generally be reached by creditors of the

                                                             6   beneficiary … the trustee’s personal creditors or trustee in bankruptcy may not reach either the trust

                                                             7   property or the trustee’s nonbeneficial interest therein.” Restatement (Third) of Trusts § 42 (2003);

                                                             8   see also Hinds v. McNair, 129 N.E.2d 553 (Ind. 1955) (A trustee of oral trust in realty may carry it

                                                             9   out, and courts will protect trust res against claims of trustee's creditors).

                                                            10                The forgoing reflects the elemental common law doctrine that “the beneficiaries hold the

                                                            11   beneficial interests (or ‘equitable title’) in the trust property, while the trustee (ordinarily) holds ‘bare’
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                                                            12   legal title to the property. ” Restatement (Third) of Trusts § 42 (2003). In other words, the “interest
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                                                            13   taken by the trustee is nonbeneficial. ” Id. Courts who have examined this issue have protected trust
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                                                            14   corpus from creditors of the trustee. See Universal Bonding Insurance Co. v. Gittens & Sprinkle

                                                            15   Enterprises, 960 F.2d 366 (3d. Cir. 1992) (funds held by the debtor subject to statutory trust imposed

                                                            16   by New Jersey Trust Fund Act were not subject to Chapter 11 debtor’ general creditors’ claims); In re

                                                            17   Intrenet, Inc., 273 B.R. 153 (Bankr. S.D. Ohio 2002) (Chapter 11 bankruptcy estate did not include

                                                            18   “funds held by the debtor as trustee under a statutorily imposed trust).

                                                            19                The Ninth Circuit in the case of S & H Packing & Sales Co., Inc. v. Tanimura Distributing.,

                                                            20   Inc., 883 F.3d 797, 803 (9th Cir. 2018) examined the issue in the context of the Perishable Agricultural

                                                            21   Commodities Act (PACA), concluding that “because ordinary principles of trust law apply to trusts

                                                            22   created under PACA, trust assets are excluded from the bankruptcy estate if the PACA trustee goes

                                                            23   bankrupt.” The facts of this case compel the same result. Because ordinary principles of trust law

                                                            24   apply to state law created purchase money resulting trusts, the trust assets—the Direct Purchase

                                                            25   Receivables—are excluded from the bankruptcy estate of the trustee, Infinity, and thus not subject to

                                                            26   the claims of HASelect.

                                                            27

                                                            28
                                                                                                                       16
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                                                                 D.           The Direct Purchase Receivables are not property of the Debtor’s bankruptcy estate, and
                                                             1                the strong arm rights and powers of 11 U.S.C. § 544 cannot be utilized to make the Direct
                                                                              Purchase Receivables property of the Debtor’s bankruptcy estate.
                                                             2
                                                                              Property comprising the bankruptcy estate is defined in 11 U.S.C. § 541. Property in which the
                                                             3
                                                                 debtor holds only legal title but not an equitable interest is included as property of the estate under 11
                                                             4
                                                                 U.S.C. § 541(a)(1). Section 541(d) clarifies section 541(a)(1) by expressly providing that any such
                                                             5
                                                                 interest held by the debtor at the commencement of the case becomes estate property under subsection
                                                             6
                                                                 (a)(1) or (2) but only to the extent of the debtor’s legal title to the property, not including any equitable
                                                             7
                                                                 interest in the property not held by the debtor. Under the plain language of the statute, the Direct
                                                             8
                                                                 Purchase Receivables are not property of the Debtor’s bankruptcy estate.
                                                             9
                                                                              A different issue is whether section 541(d) is subject to the purchased rights of HASelect to
                                                            10
                                                                 avoid an unperfected security interest in property under other provisions of the Bankruptcy Code. The
                                                            11
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                                                                 Ninth Circuit has found that section 544(a) confers the substantive right to bring certain property
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                                                            12
                                                                 transferred by the debtor prior to the bankruptcy filing back into the estate—not all. See In re Tleel,
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                                                            13
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                                                                 876 F.2d 769, 772 (9th Cir. 1989) (Observing that there exists a “possibility that under certain
                                                            14
                                                                 circumstances the corpus of a valid resulting trust may become estate property upon exercise of section
                                                            15
                                                                 544(a)(3)’s avoidance powers.”)
                                                            16
                                                                              Likewise, in the matter of In re Torrez, 63 B.R. 751, 754 (B.A.P. 9th Cir. 1986), aff’d on other
                                                            17
                                                                 grounds, 827 F.2d 1299 (9th Cir. 1987), the Court held that the “strong arm” power of section 544
                                                            18
                                                                 could not make the corpus of the valid resulting trust under California law property of a bankruptcy
                                                            19
                                                                 estate. The Torrez Court examined California state law, concluding that a lien creditor in California
                                                            20
                                                                 would not prevail against a resulting trust and finding that the estate did not qualify as a bona fide
                                                            21
                                                                 purchaser for value without notice under California law and therefore could not invoke the avoidance
                                                            22
                                                                 power of section 544(a)(3). Id. In other words, the rights and powers of a trustee under section 541(d)
                                                            23
                                                                 are determined by applicable non-bankruptcy law, and not section 544. See In re Michigan
                                                            24
                                                                 Lithographing Co., 997 F.2d 1158 (6th Cir. 1993).
                                                            25
                                                                              Accordingly, a trustee can “avoid” a security interest only if applicable non-bankruptcy law
                                                            26
                                                                 provides such rights and powers to a judicial lien creditor. See In re Anchorage Nautical Tours, Inc.,
                                                            27
                                                                 102 B.R. 741 (Bankr. App. 9th Cir. 1989) (Under Alaska state law, debtor shipowner's prepetition oral
                                                            28
                                                                                                                         17
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                                                             1   agreement with shipyard to assign insurance proceeds in exchange for repairs constituted effective

                                                             2   assignment to yard of owner's insurance claims, valid against interests of owner's bankruptcy estate,

                                                             3   notwithstanding absence of executed payment orders; despite lack of formalities, transfer would have

                                                             4   been effective against subsequent lien creditor, and thus was effective against estate).

                                                             5                The appropriate focus, therefore, is whether and when, under South Carolina state law, a

                                                             6   judgment lien creditor may “void the resulting trust.” Torrez, 63 B.R. 751, 755. A survey of South

                                                             7   Carolina case law reveals that a fraudulent intent will void a purchase money security interest. In

                                                             8   Hayne Fed. Credit Union v. Bailey, 489 S.E. 2d 472 (S.C. 1997), the South Carolina Supreme Court

                                                             9   examined the issue of whether a purchase money resulting trust precluded a lender from proceeding

                                                            10   in a mortgage foreclosure action brought by creditor that had loaned money to son's widow in reliance

                                                            11   on her properly perfected title to the property. In doing so, the South Carolina Supreme Court found
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                                                            12   that while the presumption of a purchase money resulting trust may have arisen, parole evidence
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                                                            13   determined that the Father's fraudulent actions, in purchasing the property for his own benefit in name
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                                                            14   of his son with intention of thereby concealing property from his creditors and wife, rebutted such a

                                                            15   presumption, and precluded him from establishing a purchase money resulting trust in property. Id. at

                                                            16   475.

                                                            17                The record before this Court is factually devoid of any allegations of fraudulent intent or

                                                            18   actions on behalf of Tecumseh. And “[a]lthough by statute or otherwise a creditor who obtains

                                                            19   judgment is entitled to a lien upon land or other property of the judgment debtor, the judgment creditor

                                                            20   … cannot enforce such a lien upon property which the judgment debtor holds in trust.” Restatement

                                                            21   (Second) of Trusts § 308 (1959). HASelect, as successor in interest to the trustee is therefore unable

                                                            22   to “avoid” Tecumseh’s interest in the Direct Purchase Receivables, as applicable non-bankruptcy law

                                                            23   fails to provide such rights and powers to a judicial lien creditor.

                                                            24                                             V.      CONCLUSION
                                                            25                Based on the foregoing, Tecumseh respectfully requests that this Court enter an order (i)

                                                            26   granting partial summary judgment in its favor, (ii) determining Tecumseh to be the equitable owner

                                                            27   of the Direct Purchase Receivables; (ii) holding the Direct Purchase Receivables are not and were

                                                            28   never property of the Debtor’s bankruptcy estate; (iii) determining that the perfected security interest
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                                                             1   of HASelect in the Debtor’s collateral does not extend to the Direct Purchase Receivables; and (iv)

                                                             2   the strong arm rights and powers afforded to the Trustee under 11 U.S.C. § 544 and sold to HASelect

                                                             3   cannot be utilized to make the Direct Purchase Receivables property of the Debtor’s bankruptcy estate.

                                                             4                Dated this 26th day of August.
                                                                                                                    Respectfully submitted,
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